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Prepared by: BRAND‘£ A. HARVEY

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OCTOBER 1 9 , 20 l D ALBUQUERQU'E. NEW MEXICO
[Date] ICity] l St.ate]

NOTE

705 JACONITA PL SW, ALBUQUERQUE, NM 87121-5449
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1. BORROWER'S PROMISE TO PAY

In return for a loan that l have received. l promise tn pay U.S. 3161 , 679 . 76 (tltis amount is called "Pn'ncipal")_
plus interestv to the order of the Lender. The l_,ender is
BANK. OF AMERICA, N.A.
l will make all payments under this Note in the form of cash. check or money order.

[ understand that the Lendcr may transfer this Note. 'I'he Lender or anyone who takes this Note by transfer and who is entitled to
receive payments under this Note is called the "Note Holder."

Z. INTERES'I'

Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest at a yearly rate
of 4 . 500 %.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section B{B)
of this Note.

3. PAYMENTS

(A) Time and Place of Paymeots

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the FIRST day of each month beginning on DECEMBER 01, 2010
l will make these payments every month until I have paid all of the principal and interest and any other charges described below that l
may owe under this Note_ Each monthly payment will be applied as of its scheduled due date and will be applied to interest before
Principal. If. on NOVEMBER 0 l, 2 04 0 . l still owe amounts under this Note, I will pay those amounts in full on that date. which
is called the "Maturlty Date."

l will make my monthly payments at
P.o. Box 650070, Da as. TX 75265-0070

or at a different place if required by the Note Holder.
(H) Amotmt of Mont.hly Paymmls
My monthly payment will be in the amount of U.S. 3319 - 21

4. BORROWER'S RIG|I'I` TO PREFAY

l have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
"Prepayment." When I make a Prepayment. l will tell the Note Holder in writing that I am doing so. l may not designate a payment as
a Prepayment if l have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that l owe under this Note. However, the Note Holder may apply my Prepayment to
the accrued and unpaid interest on the Prepayment amount. before applying my Prepayment to reduce the Principal amount of thc
Note. if l make a partial Prepayment. there will be no changes in the due date or in the amount ol` my monthly payment unless the
Note Holder agrees in writing to those changes

S. LDAN CHARGES

If a law. which applies to this loan and which sets maximum loan charges. is finally interpreted so that the interest or Other loan
charges collected or to be collected in connection with this loan exceed the pemtitted limits then: (a) any such loan charge shall be
reduced by the amount necessary to reduce the charge to the permitted limit; and [h) any sums already collected from me which
exceeded pemu'tted limits will be refunded to me, The Note Holder may choose to make this refund by reducing the Principal [ owe
under this Note or hy making a direct payment to nlc, lf` a refund reduces Pn'ncipal. the reduction will be treated as a partial
Prepayment.

6. BORROWER'S FA[LURE TO PA¥ AS REQUlRED

(A) Late Clmrge for Overduc Paymeols
If the Note Holder has not. received the l`ull amount of any monthly payment by the end of FIFTEEN calendar
days after the date il is due. l will pay a late charge to the Note Holder. 'l`he amount of the charge will be 5 .OOO % of
my overdue payment of principal and interest l will pay this late charge promptly but only once on each late payment_.

(B) Default
if l do not pay the full amount of each monthly payment on the date it is due. l will be in default

MULT!STATE FlXED RATE NOTE--Single Family~-Fannie MaefFreddie Ma¢: UN|FDRM [NSTRUMENT Fomi 3200 1f01
Fi)ted Rate Note

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LOAN tit :

(C] Notice of Defanlt

If l am in default. the Note Holder may send me a written notice telling me that ifl do not pay the overdue amount by a certain
date. the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all the interest that
I owe on that amount. That date must he at least 30 days al`ter the date on which the notice is mailed to me or delivered by other
means

(D) No Waiver By Note Holder

E.ven if, ata time when l am in defauit, the Note Holder does not require me to pay immediately in full as described above. the
Note Holder will still have the right to do so if l am in default at a later time.

(E) Payment of Note Holder's Costs and Expeom

if the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be paid
back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those expenses
include. for exampie. reasonable attomeys‘ fees.

7. GIV[NG OF NOTICES

Unless applicable law requires a different method. any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if l give the Note Holder a
notice of my different address.

Any notice that must he given to the Note Holder under this Note will be given by delivering it or by mailing it by first class mail
to the Note Holder at the address stated in Secrion 3(A) above or at a different address if l am given a notice of that different address

8. OBLIGA'I'IONS OF PERSONS UN'DER THIS NOTE

if more than one person signs this Note. each person is fully and personally obligated to keep all of the promises made in this
Note. including the promise to pay the full amount owcd. Any person who is a guarantor. surely or endorser ol` this Note is also
obligated to do th$e things Any person who takes over these obligations including the obligations of a guarantor. surety or endorser
of this Note. is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights under this Note
against each person individually or against all of us together 'i` his means that any one of us may be required to pay all of the amounts
owed under this Note.

9. WAIVERS

l and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
"Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the right
to require the Note Holder to give notice to other persons that amounts rlue have not been paid_

10. UN[FORM SECURED NO’I`E
This Note is a uniform instrument with limited variations in some jurisdictions fn addition to the protections given to the Note
Holder under this Note. a Mortgage. Deed of Tru$t, or Security Deed (the "Security Instrument"). dated the same date as this Note.
protects the Note Holder front possible losses which might rGult if l do not keep the promises which l make irr this Note. That
Security instrument describes how and under what conditions l may be required to make immediate payment in full of all amounts
l owe under this Note. Some of those conditions are described as follows:
If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written conscnt_
Lender may require immediate payment in full of all sums secured by this Security Insmrment. However. this option
shall not be exercised by Lender if such exercise is pmhihited by Applicab|e Law_
If Lender exercises this option Lender shall give Borrower notice of acceleration The notice shall provide a
period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrttment. f.f Bctrrower fails to pay these sums prior to the
expiration of` this period, Lender may invoke any remedies permitted by this Security instrument without further
notice or demand on Borrower.

WITNESS THE HAND( (S) AND SEA]_.(S) )OF THE UNDERSIGN l:`l).

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-Borrower »Borrower
[Sr'gn Orr'gr'rra/ Only]
MULT\STATE FIXED RATE NOTE--Sing|e Family--Fannie MaeIFmddie Mac UN|FORM INSTRUMENT Form-
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